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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


AMAZON.COM, INC.,
                                                         Case No. 1:21-cv-767 (BMC)
        Plaintiff,

   v.
                                                         Oral Argument Requested
ATTORNEY GENERAL LETITIA JAMES, in
her official capacity as the Attorney General of
the State of New York,

        Defendant.


           PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
         DEFENDANT’S MOTION TO DISMISS AMENDED COMPLAINT OR,
                IN THE ALTERNATIVE, STAY PROCEEDINGS



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July 9, 2021
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                                PRELIMINARY STATEMENT

       Amazon brought this action to compel the Office of the New York Attorney General

(“OAG”) to comply with the federal laws that govern Amazon’s workplace safety response to the

COVID-19 pandemic. The OAG has been disregarding those federal laws for more than a year by

attempting to regulate the adequacy of Amazon’s COVID-19 response in areas that are preempted

by federal law or assigned to the exclusive or primary jurisdiction of federal regulators. In fact,

Amazon has developed and implemented industry-leading workplace protections against COVID-

19 that far exceed any applicable standard, and was justified in taking disciplinary actions against

two employees, Christian Smalls and Derrick Palmer, for repeatedly violating Amazon’s social

distancing policies and, in Mr. Smalls’s case, a quarantine order following a potential COVID-19

exposure. Those facts, however, are not at issue in this case. The only issues—and the issues on

which Amazon has sought summary judgment—concern whether the OAG is improperly

disregarding federal law and intruding on the jurisdiction of federal regulators. As this Court

knows well, federal courts have both the jurisdiction and the obligation to compel such recalcitrant

state actors to comply with federal law.

       In moving to dismiss, the OAG offers several theories for why it should not be answerable

in federal court for its ongoing disregard of federal law. None of those theories has merit.

       The OAG first argues that this Court lacks subject-matter jurisdiction. But it is “beyond

dispute that federal courts have jurisdiction over suits,” such as this one, that “seek[] injunctive

relief from state regulation, on the ground that such regulation is pre-empted by a federal statute.”

Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 96 n.14 (1983). The OAG’s attempt to invoke a

supposed exception to Shaw recognized by the Second Circuit for claims primarily seeking an

interpretation of state law has no bearing on this proceeding. Amazon is not asking this Court for
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an interpretation of state law, and seeks declaratory and injunctive relief only on the ground that

federal law bars the OAG’s actions. This Court can grant that relief without interpreting state law,

as Amazon’s motion for summary judgment shows.

       Next, the OAG invokes two abstention doctrines, Younger and Wilton, in a further attempt

to shield its conduct from scrutiny. But this case presents none of the “exceptional circumstances”

that must exist for a federal court to abstain from exercising its jurisdiction. Moses H. Cone Mem’l

Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 14 (1983). Younger abstention does not apply because

no significant state interests are implicated in the OAG’s state court action and it is apparent that

most, if not all, of the OAG’s claims are beyond the state court’s jurisdiction. Furthermore, if

Amazon prevails on its legal arguments and the state court dismisses the OAG’s complaint,

Amazon likely cannot secure the injunctive and declaratory relief it seeks here. Regardless,

Younger abstention is not available where a state actor has pursued its claims in bad faith, as

Amazon’s well-pleaded allegations show here. And Wilton abstention does not apply because

Amazon asserts claims under federal law and does not seek purely declaratory relief.

       Lastly, the OAG offers several arguments for why Amazon’s complaint supposedly fails

to state a claim, but those arguments are easily dispatched. The National Labor Relations Act

(“NLRA”) clearly preempts the OAG’s attempt to regulate allegations of retaliation against

employees who protested workplace-safety conditions at Amazon’s JFK8 facility in Staten Island.

Indeed, the National Labor Relations Board (“NLRB”) is currently hearing an identical claim for

an allegedly retaliatory discharge following the same COVID-safety protests at JFK8. As the

Supreme Court has made clear, if the NLRB even “arguably” has jurisdiction over a matter (as it

does here), that jurisdiction is “exclusive” and state jurisdiction “must yield.” San Diego Bldg.

Trades Council v. Garmon, 359 U.S. 236, 244-45 (1959). Contrary to the OAG’s arguments, there
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     is no basis for applying the “local interest exception” to Garmon preemption here.

            The OAG also fails to show that its workplace-safety allegations are not preempted by the

     federal Occupational Safety and Health Act (“OSH Act”) or subject to the primary jurisdiction of

     the Occupational Safety and Health Administration (“OSHA”). Although this Court declined to

     find OSH Act preemption in Palmer v. Amazon.com, Inc., 498 F. Supp. 3d 359 (E.D.N.Y. 2020),

     it did not consider the OAG’s allegations regarding “cleaning and disinfection,” Dkt. 33-4 ¶ 51,

     policies promoting “hygiene and sanitation practices,” id. ¶ 67, and procedures for documenting

     and reporting COVID-19 infections—all of which fall under existing OSHA standards or mirror

     OSHA’s COVID-19 enforcement actions. There is no merit to the OAG’s contention that OSHA

     must promulgate new, COVID-specific standards to preempt state law. The OAG also fails to

     distinguish this Court’s holding in Palmer that a closely similar workplace-safety claim seeking

     injunctive relief was subject to OSHA’s primary jurisdiction.       OSHA has the institutional

     perspective and expertise needed to determine what protocols are adequate in light of a rapidly

     changing pandemic—expertise it has deployed throughout the pandemic to regulate the same

     practices that the OAG seeks to regulate. OSHA standards have been effective in controlling the

     spread of COVID-19, and, together with other efforts, have contributed to the end of the

     COVID-19 emergency.

            For all of these reasons, the OAG’s motion to dismiss should be denied.

                                        BACKGROUND

I.      Amazon’s Responses To COVID-19 Have Been Industry-Leading.

            Amazon is an essential business that has provided vital supplies to customers and much-

     needed jobs throughout the COVID-19 pandemic. Am. Compl. ¶ 1. To protect its associates from

     COVID-19, Amazon has taken extraordinary, industry-leading measures grounded in science,

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      going above and beyond governmental guidance and requirements. Id. ¶¶ 1-2, 28-116. Amazon

      has implemented over 150 process changes to promote social distancing, hygiene, and the safety

      of its associates, often doing so well before state and federal officials recommended analogous

      measures. Id. ¶¶ 2, 35-36. When the New York City Sheriff’s Office conducted an unannounced

      inspection of Amazon’s JFK8 fulfillment center in Staten Island in March 2020, it concluded that

      Amazon’s health and safety measures went “above and beyond” then-current compliance

      requirements and presented “absolutely no areas of concern,” and that complaints about inadequate

      protective measures at JFK8 were “completely baseless.” Id. ¶ 4. Since then, Amazon has taken

      numerous additional steps to increase workplace safety, including building its own COVID-19

      testing facilities, hosting on-site vaccination programs at its facilities (including JFK8), and

      offering a financial incentive to associates who receive the vaccine off-site. Id. ¶¶ 95-112. To

      date, Amazon has spent more than $11.5 billion on COVID-related initiatives. Id. ¶ 16.

             Amazon takes the health and safety of its employees extremely seriously, which is why it

      took appropriate steps to address the health-and-safety violations of Mr. Smalls and Mr. Palmer.

      Am. Compl. ¶ 6. Amazon terminated Mr. Smalls’s employment and issued Mr. Palmer a written

      warning because of their repeated violations of Amazon’s social-distancing policies and Mr.

      Smalls’s violation of a quarantine order following a COVID-19 exposure. Id. ¶¶ 7, 140-52.

II.      The OAG Began An Unwarranted Investigation Into Federally Regulated Matters.

             Within hours of Mr. Smalls’s termination, the New York Attorney General issued a press

      release and posted a Tweet describing Amazon’s actions as “immoral,” “inhumane,” and

      “disgraceful,” and “calling on the NLRB to investigate.” Am. Compl. ¶¶ 9, 164, 218.

             The OAG then began its own investigation of Amazon’s COVID-19 response at JFK8 and

      DBK1 and supposed retaliation against Mr. Smalls and Mr. Palmer for protesting working
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       conditions and COVID-19 workplace-safety practices at JFK8. Am. Compl. ¶ 10. Less than a

       month later, and without interviewing a single Amazon employee, the OAG made a “preliminary

       assessment” that Amazon had violated workplace-safety requirements—including the OSH Act

       and its regulations—and that Amazon had unlawfully retaliated against Mr. Smalls. Id. ¶¶ 10,

       166-67, 220. The OAG’s assessment ignored the New York City Sheriff’s Office’s contrary, first-

       hand findings. Id. ¶ 168. The OAG’s “preliminary assessment” was promptly leaked to the press:

       on April 27, 2020, NPR reported that it had obtained a copy of the OAG’s April 22 letter to

       Amazon and published an article quoting the letter and describing its contents. Id. ¶ 221.

III.      When The OAG Made Overreaching Demands, Amazon Filed This Action To Protect Its
          Federal Rights.

              The OAG’s investigation dragged on for 11 months. Despite substantial contrary evidence

       produced by Amazon, Am. Compl. ¶¶ 11, 165, the OAG continued to claim that Amazon violated

       health and safety standards and retaliated against Mr. Smalls and Mr. Palmer, id. ¶¶ 12, 167-72.

       The OAG eventually threatened to sue Amazon if it did not agree to demands that included making

       payments to Mr. Smalls and Mr. Palmer for “emotional distress” and disgorging profits. Id. ¶¶ 13,

       189. Amazon filed this action on February 12, 2021, seeking injunctive and declaratory relief

       from the OAG’s unlawful regulation of Amazon’s COVID-19 response. The OAG subsequently

       filed its own lawsuit in the New York Supreme Court, alleging that Amazon failed to provide its

       employees “reasonable and adequate protection” against COVID-19 in violation of New York

       Labor Law (“NYLL”) § 200, and retaliated against Mr. Palmer and Mr. Smalls in violation of

       NYLL §§ 215 and 740. Id. ¶¶ 18, 190.

                                            LEGAL STANDARD

              “In resolving a motion to dismiss under Rule 12(b)(1), the district court must take all


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     uncontroverted facts in the complaint … as true, and draw all reasonable inferences in favor of the

     party asserting jurisdiction.” Fountain v. Karim, 838 F.3d 129, 134 (2d Cir. 2016). To survive a

     motion to dismiss under Rule 12(b)(6), a complaint “must contain sufficient factual matter,

     accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

     U.S. 662, 678 (2009). A claim is plausible if “the plaintiff pleads factual content that allows the

     court to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

                                               ARGUMENT

I.      This Court Has Subject-Matter Jurisdiction.

            Under Shaw, this Court has jurisdiction over this action “to enjoin state officials from

     interfering with federal rights.” 463 U.S. at 96 n.14. “A plaintiff who seeks injunctive relief from

     state regulation, on the ground that such regulation is pre-empted by a federal statute … thus

     presents a federal question which the federal courts have jurisdiction under 28 U.S.C. § 1331 to

     resolve.” Id. The OAG nevertheless argues that this case falls within a narrow exception

     recognized in Fleet Bank National Ass’n v. Burke, 160 F.3d 883 (2d Cir. 1998), for lawsuits that

     are “primarily an attempt to have a federal court construe a state regulatory statute.” Id. at 884.

     But Fleet does not apply because this case does not ask the Court (primarily or otherwise) to

     construe state law. Unlike the plaintiff in Fleet, Amazon’s preemption argument is not contingent

     on any prior interpretation of state law, and Amazon has not filed this action to preclude the

     OAG—“as a matter of state law”—from regulating Amazon. Id. at 889. Amazon simply seeks

     to enjoin the OAG’s attempted regulation of Amazon’s COVID-19 response on grounds of federal

     preemption and federal primary jurisdiction. Am. Compl. ¶¶ 235-54.

            The OAG’s contrary arguments mischaracterize Amazon’s claims and the law. The OAG

     erroneously asserts that “Amazon alleges that the OAG lacks authority under state law” to pursue

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      its claims against Amazon. Mot. 4. But the OAG concedes that Amazon’s complaint is “focus[ed]

      on preemption,” not state law. Id. at 5. The OAG cites only six paragraphs in Amazon’s 254-

      paragraph complaint that purportedly address the OAG’s authority under state law—one of which

      does not even reference state law, see Am. Compl. ¶ 15, and none of which is in Amazon’s causes

      of action or prayer for relief. These allegations, which demonstrate the OAG’s overreaching

      application of state law, are relevant only to show why the bad-faith exception to Younger

      abstention applies. See id. ¶¶ 219, 229. In contrast to Fleet, where the plaintiff sought a declaration

      that state law “did not prohibit [a] surcharge fee,” 160 F.3d at 885, Amazon’s declaratory and

      injunctive claims rest only on the preemptive force of federal law. Amazon’s motion for summary

      judgment on those claims does not address the OAG’s authority under state law. See Dkt. 33-1.

             The OAG argues that “Fleet is not limited to cases ‘primarily’ attempting to have a federal

      court construe a state regulatory statute,” Mot. 5, but Fleet’s express holding says otherwise. See

      160 F.3d at 884 (“We conclude that federal question jurisdiction is lacking because the lawsuit is

      primarily an attempt to have a federal court construe a state regulatory statute.”). The OAG also

      argues that Amazon is “implicitly asking the Court to assume that the NYLL applies to it,” Mot. 5,

      but the same could be said of any plaintiff who has standing to seek an injunction against state

      regulation on federal preemption grounds, including the plaintiff in Shaw. Moreover, unlike the

      plaintiff in Fleet, which raised preemption only as a “contention in reserve,” 160 F.3d at 891,

      Amazon seeks relief based solely on federal preemption and primary jurisdiction; the Court need

      not construe state law before granting Amazon’s request for declaratory and injunctive relief.

II.      Abstention Doctrines Do Not Warrant Dismissing Or Staying Amazon’s Claims.

             Federal courts have a “virtually unflagging” obligation to exercise the jurisdiction given

      them, Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 77 (2013), and a constitutional duty “to
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adjudicate a controversy properly before” them, Moses H. Cone, 460 U.S. at 14. Abdication of

this obligation is justified “only in the exceptional circumstances” where directing the parties to

“repair to [a] State court would clearly serve an important countervailing interest.” Id. Otherwise,

“[t]he pendency of an action in a state court is no bar to proceedings concerning the same matter

in” federal court. Sprint, 571 U.S. at 73 (alteration omitted). No such exceptional circumstances

are present here. This Court should reject the OAG’s invitation to abstain. 1

        A. Younger Abstention Is Inappropriate.

        Younger abstention is appropriate only where (1) there is an “ongoing state proceeding,”

(2) that implicates an “important state interest,” and (3) provides “an adequate forum for the

vindication of federal constitutional rights.” Cullen v. Fliegner, 18 F.3d 96, 103 & n.4 (2d Cir.

1994). The OAG cannot satisfy the second or third prongs of this analysis, rendering Younger

abstention inapplicable. Younger abstention independently fails because Amazon adequately

alleges that the OAG’s investigation and litigation fall within the “bad faith” exception to Younger.

            1. The OAG’s State Court Action Does Not Raise Important State Interests.

        To begin, the OAG cannot satisfy the second prong of the test for Younger abstention

because there is no cognizable “important state interest” implicated in the state proceeding. Cullen,

18 F.3d at 103 n.4. It is “readily apparent” that the “state tribunal is acting beyond the limits of its

authority.” Chaulk Servs., Inc. v. Mass. Comm’n Against Discrimination, 70 F.3d 1361, 1370 (1st

Cir. 1995); accord HSBC Bank USA, N.A. v. N.Y. City Comm’n on Human Rights, 673 F. Supp.

2d 210, 215 (S.D.N.Y. 2009) (recognizing that the Second Circuit would “likely” apply the



 1
    The OAG tacks on a cursory request for a stay at the end of its motion, but it articulates no
basis for that request. To the extent the request is not forfeited, but see Surgicore of Jersey City v.
Anthem Life & Disability Ins. Co., 2020 WL 5752227, at *3 (E.D.N.Y. Sept. 25, 2020), it should
be denied for the same reasons that abstention is inappropriate.
                                                   8
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“readily apparent” “exception to Younger abstention”); see also In re Pan Am. Corp., 950 F.2d

839, 847 (2d Cir. 1991) (recognizing a “presumption against abstention when there are preemption

issues”). In these circumstances, “no significant state interests are”—or even could be—“served”

by the state proceeding. Chaulk, 70 F.3d at 1370.

        The OAG seeks to regulate issues that are governed exclusively by federal law and are

within the jurisdiction of federal regulators. The State has no legally cognizable interest in

resolving these matters in state court. For example, the OAG’s claim that Amazon “retaliat[ed]”

against Mr. Smalls and Mr. Palmer for collectively “complain[ing]” that “Amazon [had] failed to

provide reasonable and adequate” COVID-19 workplace safety protections, Dkt. 33-4 ¶¶ 121, 124

(Smalls); id. ¶¶ 139, 142 (Palmer), plainly presents a federal issue. See infra pp. 16-20. Where

the NLRB even “arguably” has jurisdiction over a matter, the Board’s jurisdiction is exclusive and

states are divested of jurisdiction. Garmon, 359 U.S. at 244-45. The NLRB clearly has jurisdiction

over the matter; in fact, it is already exercising jurisdiction over the exact events giving rise to the

OAG’s retaliation claims.2 Where, as here, the “very same conduct provides the factual basis” for

a case currently pending before the Board, it is “‘readily apparent’ that the [state tribunal] is acting

beyond its jurisdictional authority by entertaining [the OAG’s] complaint.” Chaulk, 70 F.3d at

1370; Bud Antle, Inc. v. Barbosa, 45 F.3d 1261, 1272 (9th Cir. 1994) (declining to apply Younger

where “the NLRA clearly preempts” state jurisdiction).

        Similarly, the OAG’s claims relating to COVID-19 workplace safety are preempted by

standards promulgated under the federal OSH Act, and are subject to OSHA’s primary jurisdiction.

 2
    In the case of Gerald Bryson (NLRB Case No. 29-CA-261755), the Board alleges that Amazon
retaliated against Mr. Bryson for participating in the same protests as Mr. Palmer and Mr. Smalls.
Am. Compl. ¶ 214. The Administrative Law Judge has found that information about Mr. Smalls
and Mr. Palmer is relevant to that claim because they allegedly engaged “in the same protected
activity” as Mr. Bryson. Id.
                                                  9
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See infra pp. 20-25. This Court found it “appropriate to apply the doctrine of primary jurisdiction”

to a closely similar claim for injunctive relief under NYLL § 200. Palmer, 498 F. Supp. 3d at 370.

Since Palmer was decided, OSHA has issued over 100 additional citations related to COVID-19.

Dkt. 33-32. There is no doubt that federal law, not state law, controls these issues.

       Contrary to the OAG’s assertion, Mot. 8, there are no “unresolved questions of fact or law”

that would impede deciding the preemption questions here. HSBC Bank, 673 F. Supp. 2d at 215.

These questions were settled decades ago by the Supreme Court. See Garmon, 359 U.S. at 244-

45 (NLRA); Gade v. Nat’l Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 97 (1992) (plurality) (OSH

Act); see, e.g., Chaulk, 70 F.3d at 1370. Accordingly, Younger abstention does not apply.

           2. The State Court Likely Cannot Grant Amazon The Full Relief It Seeks.

       The OAG independently fails to satisfy the third prong of the test for Younger abstention

because the state court does not “provide[] an adequate forum for the vindication of [Amazon’s]

federal constitutional rights.” Cullen, 18 F.3d at 103. The OAG argues that the state court can

consider Amazon’s “federal constitutional defense[s],” Mot. 7, but the limited review that the

OAG contemplates is unlikely to afford Amazon the declaratory and injunctive relief it seeks. If

the state court dismisses the OAG’s complaint based on Amazon’s federal constitutional

arguments, judgment will be entered without any opportunity for Amazon to secure the necessary

declaratory and injunctive relief against the OAG’s ongoing refusal to abide by federal law. As

the OAG’s conduct shows, such affirmative relief is essential—and only this Court can grant it. 3


 3
    For example, the OAG recently doubled down on its demands for forward-looking injunctive
relief and a court-ordered safety monitor, despite the fact that the New York Governor has declared
the public emergency over and public health restrictions have expired. See Reply in Supp. of Mot.
to Lift Stay of Disclosure at 3-6, People v. Amazon.com Inc., Index No. 450362/2021 (N.Y. Sup.
Ct. N.Y. Cty. June 30, 2021). The OAG’s unwillingness to acknowledge the obvious mootness of
its workplace-safety injunctive claim is just one example of why Amazon needs affirmative relief.
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For this additional reason, Younger abstention is inappropriate. See, e.g., Bridges v. Kelly, 84 F.3d

470, 477 (D.C. Cir. 1996) (inability of the D.C. courts to “afford appellant the full relief he seeks

in connection with his federal claims is sufficient to preclude dismissal under Younger”).

           3. The OAG Pursued Its Claims Against Amazon In Bad Faith.

       Even if the OAG could satisfy the criteria for Younger abstention (and it cannot), this case

qualifies for an exception based on Amazon’s well-pleaded allegations that the OAG began its

investigation and brought its case in a bad faith effort to harass Amazon. Cullen, 18 F.3d at 103-

04. From the start, this matter has been marked by a pattern of bias and harassment by the OAG

that defies any impartial, “good faith” explanation. Mot. 9.

   Rush to Judgment: Within hours of Amazon terminating Mr. Smalls’s employment, the

    Attorney General publicly condemned Amazon in widely followed public statements before

    opening an investigation or even asking Amazon for its account. Am. Compl. ¶ 218.

   Predetermined Outcome: Less than a month later, and before interviewing a single Amazon

    employee, the OAG took the unusual step of issuing to Amazon a “preliminary assessment”

    letter alleging that Amazon’s response to the COVID-19 pandemic had violated safety

    requirements and that Amazon had retaliated against Mr. Smalls and Mr. Palmer. Id. ¶ 220.

   Leaked Findings: The OAG’s “preliminary assessment” letter was leaked to the press. Id.

    ¶ 221. A fair inference is that the OAG was the source of the leak. See id. ¶¶ 173-75.

   Lack of Jurisdiction: The authority that the OAG purports to wield against Amazon is plainly

    preempted by federal law. Before this litigation, the OAG accused Amazon of violating OSHA

    standards and called on the NLRB to investigate Mr. Smalls’s firing. Id. ¶¶ 196, 224.

   Double Standards:       Although Amazon has adopted similar and, in many cases, more

    extensive protective measures than the New York State Courts, the OAG has defended the
                                                 11
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    State Courts’ measures to address COVID-19 as “reasonable” and “effective” while

    inconsistently condemning Amazon’s more extensive measures as inadequate. Id. ¶ 227.

   Disregard of Contradictory Evidence: No one from the OAG ever visited Amazon’s JFK8

    or DBK1 facilities during the COVID-19 pandemic. In contrast, the New York City Sheriff’s

    Office conducted an unannounced inspection of JFK8 in March 2020 and concluded that JFK8

    “appeared to go above and beyond the current compliance requirements” and that “complaints”

    to the contrary were “completely baseless.” Id. ¶ 229. The OAG has ignored those findings.

Collectively, these factual allegations are more than sufficient to show that the OAG has pursued

this matter in bad faith. At the very least, they create a colorable fact issue that precludes dismissal

on Younger abstention grounds. See Gubitosi v. Kapica, 895 F. Supp. 58, 62 (S.D.N.Y. 1995)

(Younger abstention inappropriate because the court cannot “determine at this stage of litigation

whether or not subsequent discovery in this case will bear out allegations of bad faith”).

        Amazon’s allegations are not mere criticisms of the “execution” of the OAG’s

investigation, Diamond “D” Constr. Corp. v. McGowan, 282 F.3d 191, 199 (2d Cir. 2002), but

specific allegations from which this Court can infer that the OAG brought the investigation “for

the purpose to harass” Amazon, id. at 200. Unlike in Diamond “D,” the allegations show that the

OAG “singled [Amazon] out for adverse treatment,” id., including by applying “stricter standards”

to Amazon than to New York State itself, Mot. 9. Furthermore, the OAG’s incendiary public

statements and tweets about this matter raise questions about the OAG’s commitment to securing

a fair trial. See Dkts. 33-9, 33-10, 33-11, 33-13, 33-14, 33-15, 33-20, 33-21; cf. N.Y. R. Prof’l

Conduct 3.6 (trial publicity). Younger does not shield this conduct from federal intervention.

        B. Wilton Abstention Is Inappropriate.

        There is no basis for the OAG’s invocation of the Wilton abstention doctrine. Under Wilton
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v. Seven Falls Co., 515 U.S. 277 (1995), courts have discretion to dismiss a declaratory judgment

action “where another suit is pending in a state court presenting the same issues, not governed by

federal law, between the same parties.” Dittmer v. Cty. of Suffolk, 146 F.3d 113, 118 (2d Cir.

1998) (quoting Wilton, 515 U.S. at 282). If those threshold requirements are met, the Second

Circuit has enumerated factors for courts to consider in exercising their discretion. See Niagara

Mohawk Power Corp. v. Hudson-River Black River Regul. Dist., 673 F.3d 84, 105 (2d Cir. 2012).

       This action does not meet the threshold requirements for Wilton abstention because it both

includes claims for injunctive relief and is governed by federal law. Even if Wilton applied, the

factors guiding its application make clear that abstention would be improper here.

       1. The Threshold Requirements For Wilton Abstention Are Not Satisfied.

       Where, as here, a federal action seeks more than “purely declaratory” relief, the Second

Circuit has held that Wilton abstention does not apply. Kanciper v. Suffolk Cty. Soc’y for the

Prevention of Cruelty to Animals, Inc., 722 F.3d 88, 93 (2d Cir. 2013); see also, e.g., Niagara, 673

F.3d at 106. These precedents squarely foreclose the application of Wilton abstention here.4 That

“Amazon does not seek damages,” Mot. 14, is irrelevant: Wilton does not apply to “actions [], like

this one, [that] involve … claims for injunctive relief.” Cedar Rapids Cellular Tel., L.P. v. Miller,

280 F.3d 874, 879 (8th Cir. 2002) (citing Brillhart v. Excess Ins. Co., 316 U.S. 491 (1942)); see

also, e.g., VonRosenberg, 781 F.3d at 734-35; Wilmington Tr., Nat’l Ass’n v. Estate of McClendon,

287 F. Supp. 3d 353, 366 & n.7 (S.D.N.Y. 2018) (Wilton abstention inapplicable where plaintiff

“seeks … injunctive relief”).5

 4
    Because Amazon seeks “coercive relief,” the more stringent “Colorado River standard governs
the abstention question.” VonRosenberg v. Lawrence, 781 F.3d 731, 735-36 (4th Cir. 2015). The
OAG does not invoke Colorado River abstention or argue that this standard is satisfied here.
  5
    Dow Jones & Co. v. Harrods Ltd., 346 F.3d 357 (2d Cir. 2003) is inapposite and pre-dates
Niagara and Kanciper, which held that Wilton does not apply in actions seeking more than “purely
                                               13
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       The OAG’s contention that Wilton applies because Amazon’s declaratory claim has “the

same practical impact” as an injunction is unavailing. Mot. 13. The OAG cites no cases applying

Wilton abstention to injunctive claims on this basis. To the contrary, the “only potential exception”

to the “general rule” that Wilton abstention is limited to “purely declaratory” actions is when an

injunctive claim is “frivolous” or “made solely to avoid” Wilton abstention. VonRosenberg, 781

F.3d at 735. The OAG does not assert that this exception applies here.

       Moreover, Wilton abstention is inapplicable because Amazon’s claims raise issues of

federal, not state, law. It is settled that “cases like this one that involve questions of federal law

‘are fundamentally distinct from Wilton because federal law supplies a rule of decision,’ whereas

Wilton ‘involved state law only.’” Niagara, 673 F.3d at 105. That this action “involves issues of

federal law only” is reason alone to find Wilton abstention inapplicable. Dittmer, 146 F.3d at 118;

see also, e.g., Youell v. Exxon Corp., 74 F.3d 373, 376 (2d Cir. 1996); Vill. Green at Sayville, LLC

v. Town of Islip, 2019 WL 4737054, at *11 (E.D.N.Y. Sept. 27, 2019). 6

               2.      Even If Wilton Applied, Abstention Would Still Be Inappropriate.

       Even if Wilton’s threshold requirements were satisfied (and they are not), there would be

no basis for abstention. In evaluating whether to abstain under Wilton, courts consider:

       (1) whether the judgment will serve a useful purpose in clarifying or settling the legal issues
       involved; (2) whether a judgment would finalize the controversy and offer relief from
       uncertainty; (3) whether the proposed remedy is being used merely for procedural fencing
       or a race to res judicata; (4) whether the use of declaratory judgment would increase friction
       between sovereign legal systems …; and (5) whether there is a better or more effective
       remedy.


declaratory” relief.
  6
    That Youell “antedated” New York v. Solvent Chemical Co., 664 F.3d 22 (2d Cir. 2011), is
irrelevant. Mot. 14. Solvent did not establish new “factors” for the Wilton abstention analysis, id.;
rather, in Solvent, the Second Circuit merely applied the same test that it “articulated” “[m]any
years ago,” well before Youell. Dow Jones, 346 F.3d at 359; see Solvent, 664 F.3d at 26 (quoting
Dow Jones, 346 F.3d at 359).
                                                 14
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Solvent, 664 F.3d at 26 (alterations omitted). If either of the first two factors is satisfied, a court

is “required to entertain” the action. ACE Am. Ins. Co. v. Bank of the Ozarks, 2014 WL 4953566,

at *19 (S.D.N.Y. Sept. 30, 2014).

       Application of these factors militates against abstention. The OAG does not, and cannot,

dispute that this case presents an ongoing, substantial controversy. The OAG asserts the authority

to regulate claims of retaliation against employees who protested working conditions and

Amazon’s workplace safety responses to COVID-19, while Amazon asserts the right under federal

law to be free from such state regulation. A declaratory judgment would settle this dispute, plainly

serving “a useful purpose in clarifying or settling the legal issues involved” and bringing this

“controversy” and the attendant “uncertainty” to an end. Niagara, 673 F.3d at 105. The OAG

asserts that a declaratory judgment will serve no “useful purpose” because it claims that “the legal

issues can be settled in the State Action.” Mot. 12. But the Second Circuit rejected that argument

in Niagara, concluding that a declaratory judgment “clearly would serve a useful purpose” even

though proceedings involving overlapping issues were pending in state court. 673 F.3d at 105.

       Although application of the first two factors alone precludes Wilton abstention, the

remaining factors further demonstrate that abstention is inappropriate. A declaratory judgment

would not increase “friction” between state and federal systems. Mot. 13. To the contrary, it

would decrease the friction that the OAG is generating by intruding on matters governed by federal

authority. Further, resolution of the OAG’s claims in the state court action is not a “more effective

remedy.” Mot. 12. In this action, Amazon seeks affirmative relief from the OAG’s regulation of

activities governed by federal law, not merely the dismissal of the OAG’s state court action. 7 There

 7
    By contrast, in XL Insurance America, Inc. v. DiamondRock Hosp. Co., 414 F. Supp. 3d 605
(S.D.N.Y. 2019), the plaintiffs sought a more limited declaratory judgment regarding the
enforceability of a forum-selection clause and choice-of-law clause in an action in a Virgin Islands
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       also is no evidence that Amazon “turned to the federal courts for any improper purposes.”

       Niagara, 673 F.3d at 105. Amazon brought this action as soon as the OAG’s attempts to regulate

       these areas crystallized into a substantial and imminent threat that would support injunctive relief;

       in response, the OAG hurriedly filed its lawsuit in an attempt to preclude Amazon’s injunctive

       claims. It is the OAG’s case, not Amazon’s, that was improperly filed.

III.      Amazon Has Stated Claims For Relief.

              A. Amazon Adequately Alleges That The NLRA Preempts The OAG’s Attempts To
                 Regulate Claims Of Retaliation Against Employees Who Protested Working
                 Conditions.

              Amazon adequately alleges that the OAG’s attempts to regulate claims of retaliation

       against employees who protested working conditions are preempted by the NLRA and within the

       exclusive jurisdiction of the NLRB. The Second Circuit has instructed courts in analyzing Garmon

       preemption to consider whether: (1) “any specific provision of sections 7 or 8 of the NLRA actually

       or arguably prohibits or protects the conduct that is the subject of state regulation,” (2) “the

       controversy is identical to one that the aggrieved party could bring … before the NLRB,” and

       (3) “the regulated conduct touches interests ‘deeply rooted in local feeling and responsibility.’”

       Healthcare Ass’n of N.Y. State, Inc. v. Pataki, 471 F.3d 87, 96 (2d Cir. 2006). All three steps

       establish NLRA preemption here, and the OAG’s arguments to the contrary are meritless.

              1. The Controversy The OAG Seeks To Regulate Is Identical To One That Could
                 Have Been Brought (And Was Brought) Before The NLRB.

              The OAG does not dispute that the first step in the Garmon preemption analysis is

       satisfied—the activity it seeks to regulate is plainly protected and prohibited by the NLRA. The

       NLRA protects employees who engage in “concerted activities for the purpose of … mutual aid



       court, and that action would “settle the claims at issue” in the declaratory action. Id. at 611.
                                                        16
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or protection,” 29 U.S.C. § 157, and prohibits employers from retaliating against employees who

engage in such conduct, id. § 158(a)(1). The OAG alleges that Amazon took disciplinary action

against Mr. Palmer and Mr. Smalls because of their complaints about COVID-19 workplace safety.

Dkt. 33-4 ¶¶ 120-55. Courts have held that complaints regarding workplace safety qualify as

“concerted activity,” and retaliation against employees who engage in such concerted activity is

an unfair labor practice under the NLRA. See, e.g., NLRB v. Tamara Foods, Inc., 692 F.2d 1171,

1176-77 (8th Cir. 1982); Socony Mobil Oil Co. v. NLRB, 357 F.2d 662, 663-64 (2d Cir. 1966).

       The second step in the Garmon preemption analysis is also met, because this alleged

controversy is identical to a retaliatory discharge claim that could have been brought—and in fact

was brought—before the NLRB. The NLRB’s General Counsel is litigating an identical claim

that Amazon retaliated against Mr. Bryson, who participated in the same workplace-safety protests

at JFK8 as Mr. Smalls and Mr. Palmer, Am. Compl. ¶¶ 214-15—a fact that the OAG ignores.

       The OAG asserts that the alleged controversy is not “identical” to a claim that could have

been brought before the NLRB because its claims concern employees’ “ability to complain about

NYLL violations that harm workers’ or the public’s health,” while “an NLRB proceeding would

focus on the right to leverage workers’ collective power.” Mot. 21-22. However, Garmon

preemption turns on “the conduct being regulated, not the formal description of governing legal

standards.” Wis. Dep’t of Indus., Labor & Hum. Rels. v. Gould, 475 U.S. 282, 289 (1986). The

OAG cannot change the essential nature of the federally covered conduct by “artfully pleading” it

as state-law retaliation claims. Chaulk, 70 F.3d at 1370. Because the OAG’s allegations of

retaliation “involve[] precisely the same conduct” that “could have been presented to the NLRB,”

the alleged controversy the OAG seeks to regulate is identical to a retaliatory discharge claim that

could have been brought before the NLRB. Domnister v. Exclusive Ambulette, Inc., 2008 WL
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2157115, at *4 (E.D.N.Y. May 21, 2008). Even if there were any “uncertainty” about the NLRA’s

application, that is for the NLRB to resolve in the first instance. Pataki, 471 F.3d at 95, 101.

        The OAG’s cited cases do not hold otherwise. In Belknap, Inc. v. Hale, 463 U.S. 491

(1983), the Court held that the NLRA did not preempt misrepresentation and breach of contract

claims brought by replacement workers hired during a strike. The Court reasoned that the

controversy before the NLRB would not have “anything in common with the question whether

[defendant] made misrepresentations to replacements that were actionable under state law,”

because the NLRB would instead “be concerned with the impact on strikers not with whether the

employer deceived replacements.” Id. at 510. Accordingly, maintaining the state-law action

“would not interfere with the Board’s determination of matters within its jurisdiction.” Id. at 510-

11. Here, by contrast, the allegations that Amazon took disciplinary action against Mr. Palmer and

Mr. Smalls because of their workplace-safety complaints would be the focus of both the OAG’s

NYLL claims and the potential unfair labor practice charges. In these circumstances, “[t]he risk

of conflicting rulings and interference with Board enforcement of national labor policy is evident.”

Pa. Nurses Ass’n v. Pa. State Educ. Ass’n, 90 F.3d 797, 805 (3d Cir. 1996).

        The controversy is no less identical because the OAG seeks different remedies. Garmon

preemption prevents states from providing their own “remedies for conduct prohibited or arguably

prohibited by the [NLRA].” Gould, 475 U.S. at 286. “[S]ince remedies form an ingredient of any

integrated scheme of regulation, to allow the State to grant a remedy here which has been withheld

from the [NLRB] only accentuates the danger of conflict.” Garmon, 359 U.S. at 247. Thus, that

the OAG seeks “remedies which the NLRB cannot provide,” Mot. 22, is reason to enforce

preemption, not disregard it. See Kolentus v. Avco Corp., 798 F.2d 949, 962 (7th Cir. 1986).8

 8
     The OAG’s cited cases are inapposite. In Linn v. United Plant Guard Workers of America,
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               2.      The Local Interest Exception To Garmon Preemption Is Inapplicable.

       The local interest exception to Garmon preemption is inapplicable because the exercise of

state jurisdiction presents an “obvious and substantial” “risk of interference with the Board’s

jurisdiction.” Local 926, Int’l Union of Operating Eng’rs v. Jones, 460 U.S. 669, 676, 683 (1983).

Contrary to the OAG’s assertions, interference with the NLRB’s jurisdiction is not limited to state-

law claims that expressly concern employee “bargaining power.” Mot. 23. Rather, where “the

conduct forming the basis of” state-law claims “also underlies the potential unfair labor practice

charges,” as here, allowing the state to retain jurisdiction would “create[] a risk of conflicting

rulings” and thus “interfer[e] with” the NLRB’s jurisdiction. Pa. Nurses Ass’n, 90 F.3d at 804.

       The local interest exception is independently inapplicable because the protected activity

underlying the alleged retaliation—Mr. Smalls’s and Mr. Palmer’s complaints regarding

Amazon’s COVID-19 workplace safety measures—does not “touch[] interests so deeply rooted in

local feeling and responsibility” that it warrants an exception to exclusive federal jurisdiction.

Garmon, 359 U.S. at 244, 247. More than 45 years ago, New York surrendered its power to

enforce occupational health and safety standards against private employers in favor of federal

enforcement. See NYLL § 27(1).9 Further, the local interest exception does not extend to all cases


Local 114, 383 U.S. 53 (1966), the Court held that the NLRA did not preempt a defamation claim
because the NLRB “lack[ed]” “concern with the ‘personal’ injury caused by malicious libel” and
could not “provide redress to the maligned party.” Id. at 64. Similarly, in Farmer v. United
Brotherhood of Carpenters & Joiners of Am., Local 25, 430 U.S. 290 (1977), the Court held that
the NLRA did not preempt an intentional infliction of emotional distress claim because the NLRA
did not protect or prohibit the allegedly “outrageous conduct,” and whether “[Defendants] caused
[plaintiff] severe emotional distress and physical injury would play no role in the Board’s
disposition of the case.” Id. at 302, 304. Here, in contrast, the activity the OAG seeks to regulate
is protected and prohibited by the NLRA, and the alleged injuries to Mr. Palmer and Mr. Smalls—
discipline and termination—are precisely the type of injury the NLRB routinely addresses.
  9
    By contrast, the court in Pia v. URS Energy & Construction, Inc., 227 F. Supp. 3d 999 (S.D.
Iowa 2017), found the local interest exception applicable, but expressly relied on the fact that Iowa
(unlike New York) had assumed responsibility for workplace-safety regulation for private sector
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where the state exercises its “police power.” Mot. 24. By that measure, the exception would

swallow the Garmon preemption rule. Instead, courts ordinarily limit the local interest exception

to a state’s traditional power to address “threats to public order,” such as “violence, threats of

violence, intimidation and destruction of property.” Pa. Nurses Ass’n, 90 F.3d at 803; see K.D.

Hercules, Inc. v. Laborers Local 78 of Laborers’ Int’l Union of N. Am., 2021 WL 1614369, at *4

(S.D.N.Y. Apr. 26, 2021). No such “violence” or “threat to the public order” is present here. Id.10

       The OAG’s reliance on a “presumption against preemption” is equally unavailing.

Mot. 25. This presumption is an interpretive tool for determining Congressional intent, which is

the “ultimate touchstone” in the preemption analysis. Env’t Encapsulating Corp. v. City of N.Y.,

855 F.2d 48, 53 (2d Cir. 1988). Garmon held that Congress designed the NLRA to “entrus[t]

administration of the labor policy” to “a centralized administrative agency.” 359 U.S. at 242.

“[N]othing could serve more fully to defeat the congressional goals underlying the Act than to

subject, without limitation,” the activities regulated by the NLRB to the “jurisdiction of state and

federal courts.” Amalgamated Ass’n of St., Elec. Ry. & Motor Coach Emps. of Am. v. Lockridge,

403 U.S. 274, 286 (1971). The presumption against preemption cannot undermine this instruction.

       B. Amazon Adequately Alleges That The OSH Act Preempts The OAG’s Attempts
          To Regulate COVID-19 Workplace Safety.

       Amazon adequately alleges that the OSH Act and OSHA standards preempt the OAG’s

attempts to regulate COVID-19 workplace safety. The Act “‘unquestionably’ pre-empts” state

laws relating to occupational safety or health issues “for which OSHA has already promulgated a


employers. Id. at 1003. Similarly, the court in Paige v. Henry J. Kaiser Co., 826 F.2d 857 (9th
Cir. 1987), relied on California’s “health and safety regulations” that substituted “applicable
federal standards” in concluding that the NLRA did not preempt the plaintiff’s claims. Id. at 864.
 10
    The OAG’s cited cases are not to the contrary. See Sears, Roebuck & Co. v. San Diego Cty.
Dist. Council of Carpenters, 436 U.S. 180, 202 (1978) (trespassory picketing, which “involved a
risk of violence”).
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standard.” Gade, 505 U.S. at 97 (plurality). States may “assume responsibility” for “occupational

safety and health standards” only by submitting a plan to the U.S. Secretary of Labor. 29 U.S.C.

§ 667(b). New York submitted a plan for public sector employers, but not for private employers.

Am. Compl. ¶ 194. Thus, it “cannot enforce state occupational safety and health standards for

issues covered by a federal standard” for private employers. Palmer, 498 F. Supp. 3d at 372.

       OSHA has several preexisting standards that “impose enforceable obligations on

employers to protect workers from COVID-19.” Schwartz Decl., Ex. 1 at 21. These include 29

C.F.R. §§ 1910.141 (sanitation), 1910.134 (respiratory protection), 1910.132, 1910.133, 1910.134,

1910.138 (personal protective equipment (“PPE”)), and 1904.4 (recordkeeping). See Dkt. 33-31.

In addition, “employers who fail to take preventative measures against COVID-19 face potential

liability under the general duty clause [29 U.S.C. § 654(a)(1)].” Schwartz Decl., Ex. 1 at 25.

       The OAG does not dispute that if an OSHA standard covers conduct that the OAG seeks

to regulate, that standard preempts state law. Instead, the OAG argues that it escapes preemption

because OSHA did not specifically promulgate “standards with respect to the COVID-related

workplace safety issues involved in this case.” Mot. 15. There is no support for the OAG’s

position, which contradicts OSHA’s consistent pronouncements across two Presidential

administrations. OSHA did not need to promulgate COVID-specific standards for “cleaning and

disinfection,” Dkt. 33-4 ¶ 51, policies promoting “hygiene and sanitation practices,” id. ¶ 67, and

procedures for documenting and reporting COVID-19 infections, id. ¶ 77—the issues that the OAG

seeks to regulate under NYLL § 200—because OSHA already has standards covering those issues.

       As OSHA’s regulatory actions after this Court’s decision in Palmer make clear, OSHA is

actively enforcing these standards to protect workers against COVID-19. OSHA has undertaken

significant regulatory activity showing that COVID-19 occupational safety is under federal
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oversight—including issuing dozens of citations for employers’ violations of OSHA’s standards

for respiratory protection, 29 C.F.R. § 1910.134, PPE, id. § 1910.132, and recordkeeping and

reporting, id. §§ 1904.4, 1904.39. See Dkt. 33-32; see also Dkt. 33-34 at 1 (listing “OSHA

standards [that] have been cited most frequently during COVID-19 related inspections”).

       OSHA’s decision to promulgate an Emergency Temporary Standard (“ETS”) only for

healthcare settings reflects OSHA’s determination that its existing standards sufficiently address

COVID-19 in non-healthcare settings. OSHA is obligated to issue an ETS when it determines an

ETS is “necessary” to protect against a “grave danger.” 29 U.S.C. § 655(c)(1). Thus, while OSHA

determined that “enforcement of existing standards and the General Duty Clause” was not

“adequate” to protect against the risk of COVID-19 “in healthcare settings,” Dkt. 33-40 at 149,

OSHA necessarily determined that enforcement of existing standards is adequate in non-healthcare

settings. Otherwise, OSHA would have been required to issue an ETS for non-healthcare

industries—particularly in light of the Executive Order directing OSHA to issue any COVID-19

ETS it deemed “necessary.” Dkt. 33-33 at 1. OSHA also issued additional guidance for non-

healthcare employers stating that they must continue to comply with “other applicable mandatory

OSHA standards.” Dkt. 33-41 at 5. OSHA’s decision to enforce existing standards in non-

healthcare settings, rather than issue an ETS, does not make them any less preemptive.

       The OAG resorts to arguing there is a “presumption against preemption.” Mot. 15. But

the Supreme Court rejected that presumption in holding that the OSH Act preempts state laws

concerning issues covered by a federal standard. Gade, 505 U.S. at 107-08; see id. at 111-12

(Kennedy, J., concurring) (“A finding of express pre-emption … is not contrary to our

longstanding rule that we will not infer pre-emption of the States’ historic police powers absent a

clear statement of intent by Congress.”). Congress made its preemptory intentions clear in the
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OSH Act and, as in Gade, the federal standards cover the conduct that the OAG seeks to regulate

and thus preempt state regulation. The OAG’s reliance on the OSH Act’s saving clauses, Mot. 15-

16, is equally misplaced. The Gade plurality cited both clauses, but nonetheless held the OSH Act

to be preemptive of state law. 505 U.S. at 96. Further, the OAG fails to explain how its NYLL

§ 200 claims fall within the savings clause in 29 U.S.C. § 653(b)(4), when it has not alleged the

necessary “actual injury and death.” Atlas Roofing Co. v. OSHRC, 430 U.S. 442, 445 (1977).

       C. Amazon Adequately Alleges That The OAG’s Attempts To Regulate COVID-19
          Workplace Safety Are Under OSHA’s Primary Jurisdiction.

       Amazon also adequately alleges that the primary jurisdiction doctrine bars the OAG’s

attempt to regulate Amazon’s workplace-safety response to COVID-19. This Court held that

OSHA has primary jurisdiction over Amazon’s workplace-safety response to COVID-19 in a case

involving a closely similar NYLL § 200 claim for injunctive relief. See Palmer, 498 F. Supp. 3d

at 370. The OAG’s efforts to distinguish Palmer do not warrant a different result here.

       Application of the primary jurisdiction doctrine is “appropriate ‘whenever enforcement of

[a] claim requires the resolution of issues which, under a regulatory scheme, have been placed

within the special competence of an administrative body.’” Ellis v. Tribune Television Co., 443

F.3d 71, 81 (2d Cir. 2006). In applying this doctrine, courts consider whether: (1) “the question at

issue is within the conventional experience of judges or whether it involves technical or policy

considerations within the agency’s particular field of expertise,” (2) “the question at issue is

particularly within the agency’s discretion,” (3) “there exists a substantial danger of inconsistent

rulings,” and (4) “a prior application to the agency has been made.” Id. at 82-83.

       Here, as in Palmer, at least three—and arguably all four—factors favor applying the

primary jurisdiction doctrine. First, the workplace-safety issues that the OAG seeks to regulate


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“turn on factual issues requiring both technical and policy expertise” that “go to the heart of

OSHA’s expertise and discretion.” Palmer, 498 F. Supp. 3d at 370. Second, given OSHA’s

special expertise over workplace safety, questions regarding the adequacy of COVID-19-related

workplace practices are committed to OSHA’s discretion. Ellis, 443 F.3d at 83. Third, “deference

to OSHA” would “ensure uniform[ity],” which is crucial in the context of an evolving pandemic.

Rural Cmty. Workers All. v. Smithfield Foods, Inc., 459 F. Supp. 3d 1228, 1241 (W.D. Mo. 2020).

Finally, nothing prevents the OAG from bringing issues to the attention of OSHA, or assisting

employees or their representatives in making an OSHA complaint. The fact that it has not done

so, as was the case in Palmer, does not render the primary jurisdiction doctrine inapplicable.

       The OAG claims that Congress has not vested OSHA with primary jurisdiction over

workplace safety issues, and that OSHA has chosen to defer to state regulation of COVID-19

workplace safety. Mot. 17. Both claims are unfounded. OSHA is authorized to determine whether

employers have violated the OSH Act and OSHA standards and to impose sanctions. 29 U.S.C.

§§ 658, 659. OSHA’s decision to incorporate state and local guidance into its own COVID-19

response does not mean OSHA has ceded the field to state regulators, but is itself an exercise of

OSHA’s expertise, because OSHA determined that “adequate safeguards for workers c[an] differ

substantially based on geographic location,” and “OSHA must retain flexibility to adapt its advice

regarding incorporation of such local guidance, where appropriate.” Schwartz Decl., Ex. 1 at 32-

33.

       The OAG’s assertion that OSHA has declined “to issue COVID-19 guidance to non-

healthcare work settings” also is incorrect. Mot. 18. OSHA’s enforcement efforts have spanned

numerous industries: OSHA launched hundreds of investigations of, and issued citations to,

employers outside the healthcare sector, including manufacturers and warehouse companies. See
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Dkts. 33-32, 33-44, 33-45. While OSHA limited its ETS to healthcare settings, it issued guidance

for non-healthcare employers that will be “update[d] … over time to reflect developments in

science, best practices, and standards.” Dkt. 33-41 at 1.

       The OAG also asserts that the issues raised by its NYLL § 200 claim against Amazon “are

well within the conventional experience of judges,” Mot. 18, but that is clearly not so. A court

would need to decide whether Amazon’s COVID-19 safety measures as a whole are adequate to

protect employees at an 857,000-square-foot fulfilment center from an evolving pandemic. As

this Court has previously found, “courts are not expert in public health or workplace safety matters,

and lack the training, expertise, and resources to oversee compliance with evolving industry

guidance.” Palmer, 498 F. Supp. 3d at 370. That remains true, and none of the OAG’s cases is

comparable to the OAG’s action against Amazon. See Mot. 18 n.10. Those cases involved garden-

variety torts—not actions asking courts to create out of whole cloth a forward-looking occupational

safety regime during a pandemic. See, e.g., Gasperino v. Larsen Ford, Inc., 426 F.2d 1151, 1153

(2d Cir. 1970) (wrongful death claim over carbon monoxide poisoning at the workplace).

       The OAG also is wrong in suggesting there is “no substantial danger of businesses being

subject to inconsistent rulings” because “Amazon has not alleged that OSHA is investigating

Amazon’s response to the COVID-19 pandemic.” Mot. 18-19. Amazon remains under OSHA’s

regulatory authority and now faces the prospect of complying with two occupational safety

regimes, one federally mandated and one created by a state court. The primary jurisdiction

doctrine ensures that defendants are not placed in this untenable position.

                                     CONCLUSION

       For the foregoing reasons, Amazon respectfully requests that the Court deny the OAG’s

motion to dismiss or, in the alternative, stay proceedings.
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